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 8                            IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
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11   ROGER McINTOSH,                                         CASE NO. CV F 07-1080 LJO GSA
12                          Plaintiff,                       ORDER TO SHOW CAUSE
            vs.
13
     NORTHERN CALIFORNIA
14   UNIVERSAL ENTERPRISES,
     INC., et al,
15
                            Defendants.
16                                               /
17   AND RELATED CROSS-ACTION.
18   ___________________________________/
19          Defendants Northern California Universal Enterprises Company, Inc., Lotus Developments, L.P.
20   and City Wasco filed summary judgment/adjudication points and authorities which exceed this Court’s
21   25-page limit. See Standing Order, doc. 7, page 6. As such, this Court ORDERS defendants Northern
22   California Universal Enterprises Company, Inc., Lotus Developments, L.P. and City Wasco, no later
23   than 12 p.m. on October 5, 2009, to file papers to show cause why this Court should not impose
24   sanctions, including striking the points and authorities, for disobedience of the Standing Order.
25          IT IS SO ORDERED.
26   Dated:       October 1, 2009                        /s/ Lawrence J. O'Neill
     66h44d                                          UNITED STATES DISTRICT JUDGE
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